     CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 1 of 10




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                        Criminal No. 2L-57-9 (PAM/ECW)

 UNITED STATES OF AMERICA,

                     Plaintiff,                     PLEA AGREEMENT AND
                                                    SENTENCING STIPULATIONS
       v.

 UBAH HASSAN IIAGI,

                    Defendant.

      The United States of America'and defendant Ubah Hassan Hagi (h.ereinafter

referred to as the "defendant") agree to resolve this case on the terms and conditions

that follow. This plea agreement binds only the defendant and the United States

Attorney's Office for the District of Minnesota Qaereinafber "the United States" or "the

Government"). Tbis agreement does not bind any other United States Attorney's

Offi.ce or any other federal or state agency.

       1.    Charges. The defendant agrees to plead guilf to Count One of the

Indictment, which charges the defendant with Conspiracy to Commit Wire Fraud, in

violation of 18 U.S.C. S 1349. .The defendant fully understands the nature and

elements of the crime with which'she has been charged. At the time of sentencing,

the government agrees to move to dismiss the remaining counts of the Indictment.

       2.    Factual Basis. The defendant is pleading guilf because she is in fact

Suilty of Count One of the Indictment. In pleading guilty, the defendant ad.mits the

following facts and that those facts establish her guilt beyond a reasonable doubt and

constitute relevaht conduct pursuant to the United States Sentencing Guidelines:

                                                                           SCANNED 6
                                                                           AUG I 5 20?7

                                                                       U.S. DISTRICT COURT ST. PAUL
     CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 2 of 10




      From at least in or aboutAugust 2016 through in or about December 2017,l}re

defendant worked as an interpreter for Arch Language Network ('Arclt''). Arch was

an approved. provider that billed services to the Minnesota Medicaid program foi

interpreter services provided to Medicaid beneficiaries by its interpreters. The

defendant, through Arch, billed the Minnesota Medicaid program for interpretation

services that she purported.ly provided   in the State of Minnesota to clients of Live

Better LLC. Live Better LLC was a Minnesota-based company that advertised that

it provided services to patients in thejr homes, including Adult Rehabilitative Mental

Health Services.

      The defendant agreed with ,her co-conspirators, including mental health
practitioners Z.L.R. and V.B.K., to bill the Minnesota Medicaid program for mental

heatth services and related interpretation services that were not actually rendered to

Medicaid beneficiaries. Specifically, the defendant conspired with mental health

practitioners who submitted falsified claims for reimbursemeirt to the Minnesota

Medicaid program for mental health services appointments provided to Live Better

clients, including those who were Medicaid benefi.ciaries. The defendant prepared,

signed, and submitted falsified interpreter service verification forms for
interpretation services purportedly provided during the mental health services

appointments. Some ofthe claims for reimbursement for interpretation services that

the defendant submitted were false and fraudulent because the defendant did not

actually render the interpretation services described in the claims form, including the

hours of interpreting services actually provid.ed.
       CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 3 of 10




         For example, on or about March 3L,20L7, the defendant caused to be submitted

an electronic submission of interpretation services claim for patient O.T. to UCare for

services purportedly rendered. on Februa      ry 8, 20L7. The defend.ant ad.mits that   she

did not provide the interpretation services described in the claims form for patient

O.T. on February 8, 20L7, and the claim for reimbursement that she submitted to

UCare through Arch was false and fraudulent.

         The defendant admits that each time she submitted a false and fraudulent

claim for reimbursement for interpretation services, she transrhitted and caused to

be transmitted. signs, signals, and pictures by means of wire communications in

interstate commerce for the p*poru of executing the scheme and artifice in violation

of   Title 18, United States   Code, Section 1343.

         Due to the defendant's false and fraudulent submissions, the Minnesota

Medicaid program remitted payment to Arch via electronic funds transfer, and the

defendant was then paid for interpretation services that were not actually rendered.

The defendant admits that the payment to Arch via electronic funds transfer also

constitutes the transmissions of signs, signals, and pictures by means of wire

communications in interstate commerce for the purpose of executing the scheme and

artifice inviolation of Title 18, United. States Code, Section 1343.

       . 3.    Waiver of Constitutional Trial Rights. The defendant understands

that she has the right to go to trial. At trial, the defendant would be presumed
innocent, have the right to trial by jury or, with the consent of the United States and

of the Court, to   trial by the Court, the right to the assistance of counsel, the right to
     CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 4 of 10




confront and cross-examine adverse witnesses, the right to subpoena witnesses to

testifu for the defense, the right to testify and present evidence, and the right to be

protected from ssmFelled self-incrimination. The d.efendant understand.s         tllat   she

has the right to an attorney at every stage of these proceed.ings and, if necessary, one

wiII be appointed to represent her. The defendant understand.s that she has the right

to persist in a plea of not guilty and.,   if   she does so, she would have the right to a

public arid speedy trial. By pleading guilty,'the d.efendant knowingly, willingly, and

voluntarily waives each of these trial rights, except the right to counsel. The

defendant understands that a guilty plea is a co'nplete and final admission of guilt

and, if the Court accepts the guilty plea, the Court     will adjudge the defendant guilty

without   a   trial.

       4.        Additional Consequences. The defendant understands that as a
result ofher conviction, she could be assessedthe costs ofprosecution and experience

additionaL consequences, such as the loss of the right to carry firearms, the right to

vote, and the right to hold public office.

      5.
      ("         Statutorv Penalties. The defendant und.erstands that Count One of

the Indictment, Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C.          S 1349,

is a felony offense that carries the following statutory penalties:

                 a.    a maximum of 20 years in prison;

                 b.    a supervised release term of up to three years;

                 c.    a maximum fine of $250,000;

                 d.    restitution as agreed to by the parties in this agreement;
       CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 5 of 10




                e.    assessdent to the defendant of the costs of prosecution,
                      imprisonment, and supervision, as defined in 28 U.S.C. SS 1918(b)
                      and 1920; and

                                           assessment of $100 under 18 u's'c'
                      i f#Ef("rfl^Tecial
         6.     Revocation of Supervised Release. The defendant understands that

if   she were to violate any condition of supervised release, the defendant could be

senienced     to an additional term of imprisonment up to the length of the original

supervised release term, subject to the statutory maximums set forth              in   L8 U.S.C.

s 3583.

         7.     Guidelines Calculations. The parties acknowledge that                        the

defend.ant    will be sentenced in accordance with   18 U.S.C. S gf f   f, et   seq. Nothing   in

this plea agreement should be construed. to limit the parties from presenting any and

all relevant evidence to the Court at sentencing. The parties also acknowledge that

the Court will consider the United States Sentencing Guidelines in determining the

appropriate sentence and stipulate to the following guidelines calculations. The

parties stipulate to the following guidelines calculations:

                a.    Base Offense Level. The parties agree that the base offense level
                      is 7. U.S.S.G.SS 2X1.1(a); 281.1(a)(1).

                b.    Specific Offense Characteristics. The n*rr", agree that the
                      offense level should be increased by 6 levels because the offense
                      involved a loss of more than $40,000. U.S.S.G. S 281.1@X1). The
                      parties agree that no other specific offense characteristics apply.

                c.    Chapter 3 Adjustments. The parties agree that, other than
                      acceptance of responsibility, no other Chapter 3 adjustments
                      applv.
     CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 6 of 10




            d.     Acceptance    of Responsibility. The government agrees to
                   recommend that the defendant receive a 2-level reduction for
                   acceptance of responsibility pursuant to U.S.S.G. $ 3E1.1(a).
                   However, the defendant understands and agrees that the
                   government's recommendation is conditioned upon the following:
                   (1) the defendant testifies truthfuIly during the change of plea
                   and sentencing hearings; (2) the deferidantprovides ful1, semplete
                   and truthful information to the United States Probation Office in
                   the pre-sentence investigation; and (3) the defendant engages in
                   no conduct inconsistent with acceptance of responsibility before
                   the time of sentencing, including frivolously denying facts in the
                   Presentence Report.

            e.      Criminal Historv Cateeorv. The parties believe that, at the time
                   of sentencing, the defendant will fall into Criminal HLstory
                   Category I. U.S.S.G. $ 4A1.1. This does not constitute a
                   stipulation, but a belief based on an assessment of the
                   information currently known. The defendant's actual criminal
                   history and related status will be determined by the Court based
                   on the information presented in the Presentence Report and by
                   the parties at the time of sentencing. The defendant understands
                   that if the presentence investigation reveals any prior adult or
                   juvenile sentence which should be included within her criminal
                   history under the U.S. Sentencing Guidelines, the defendant will
                   be sentenced based on her true criminal history category, and she
                   will not be permitted to withdraw from this Plea Agreement.
                   u.s.s.G. $ 4A1.1.
                                                                     ,.1

            f.     Guidelines Ranee. If the ad.justed. offense level is 11, and the
                   criminal history category is I, the Sentencing Guidelines range is
                   8 to L4 months of imprisonment. This range falls tnZone B,
                   which permits the sentence to.include imprisonment, community
                   confinement or home confi.nement.

            o      Fine Range.   If the adjusted offense level is 11, the Sentencing
                   Guidelines fine range is $4,000 to $40,000. U.S.S.G. $ 5E1.2(c)(3).

            h.     Supervised Release. The Sentencing Guidelines require a term of
                   supervised release of at least one year up to a maximum
                   supervised release term of three years. U.S.S.G. S 5D1.2.

      8.    Discretion of the Court. The foregoing stipulations are binding onthe

parties, but do not bind the Probation Office or the Court. The parties understand.
                                         6
       CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 7 of 10




that the Sentencing Guidelines are advisory and their application is a matter that

falls solely within the Court's discretion. The Court will make its own determination

regarding the applicable Guidelines factors and the applicable criminal history

category. The Court may also deBart from the applicable Guidelines range. If the

Court or the Probation Office determines that the applicable guideline calculations

or the defendant's criminal history category is different from that stated above, the

parties may not withdraw from this agreement, and the defendant will be sentenced.

pursuant to the Court's determinations.

         9.      Agreements as to Sentencing Recomrnendation. The parties are

free to recommend whatever sentence they deem appropriate. The parties resewe

the right to make a motion for departures from the applicable Guidelines range

pursuant to 18 U.S.C. $ 3553(a), to oppose any such motion made by the opposing

party, and to argue for a sentence outside the applicable Guidelines range. If the

Court does not accept the sentencing recommendation of the parties, the defendant

will   haVe no   right to withdraw her guilty plea.

         10.     Special Assessment. The Guidelines require payment of a special

assessment       in the amount of $100 for each felony count of which the defendant is

convicted, pursuant to Guideline $ 5E1.3. The defendant agrees to pay the special

assessment prior to sentencing.

         Restitution Agreement. The defendant understands and agrees that the
Mandatory Victim Restitution Act, 18 U.S.C.       S   36634, applies and that the Court is

required to ord.er the defendant to make restitution to the victims of her crimes as
     CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 8 of 10




provided by Iaw. The defendant agrees that she owes restitution and agrees that the.

Court shall ord.er her to pay restitution up to the total amount of $68,992 to the

Minnesota Medicaid program. The parties agree             to continue   discussing the

appropriate   final amount of restitution and the government may-in its             sole

discretion-recommend a lesser amount of restitution be ordered at the time of

sentencing.

       11.    Disclbsure of Assets. The defendant will fully and completely disclose

to the United States Attorney's Office the existence and location of any assets in

which the defendant has any right, title, or interest, or over which the defendant

exercises control, directly or indirectly, including those assets held    by a   spouse,

nominee or other third party, or any business owned or controlled by the defendant.

The defendant agrees to assist the United States in identifying, locating, returning,

and transferring assets for use in payment of restitution fines, and forfeiture ordered

by the Court. The defendant agrees to complete a financial statement        *ithin t*o

ryeeki of the entry of her guilty plea. The defendant further agrees to execute any

releases that may be necessary for the United States to obtain information concerning

the defendant's assets and'expressly authorizes the United States to obtain a credit

report on the defendant to evaluate her ability to satisfu financial obligations imposed

by the Court.   If   requested by the United States, the defendant agrees to submit to

one or more asset interviews or depositions under oath.

       12.    Waivers of Appeal and Collateral Attack. The defendant hereby

waives the right to appeal any non-jurisdictional issues. This appeal waiver includes,
     CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 9 of 10




but is not limited to, the'defendant's waiver of the right to appeal guilt or innocence,

sentence and restitution, and the constitutionality of the statutes       to which the
defendant is pJ.eading guilty. The parties agree, however, that excluded from this

waiver is an appeal by defendant of the substantive reasonableness of a term of

imprisonment above 14 months'imprisonment. The defendant also waives.the right

to petition under 28 U.SC. S 2255 except based upon a claim of ineffective assistance

of counsel

        The defendant has discussed these rights with the defendant's attorney. The

d.efendant understand.s the rights being waived, and the defendant waives these

rights knowingly, intelligently, and voluntarily

        The United States agrees to waive its right to appeal any sentence except the

government may appeal the substantive reasonableness of a term of imprisonment

below 8 months' imprisonment.

        13.   FOIA Requests. The defendant waives aII rights to obtain, directly or

through others, information about the investigation and prosecution of this         case

under the Freedom of Information Act and the Privacy Act of 1974,5 U.S.C.        SS 552,


5524.

        14. Imrnigration      Consequences.        The defendant understands that
pleading guilty may have consequences with respect to her immigration status,

including removal or deportation. The defendant understands that no one, including

her attorney, the Assistant United States Attorney or the District Court, can predict

to a certainty the effect of her conviction on her immigration status. Regardless of


                                           9
    CASE 0:21-cr-00057-PAM-ECW Doc. 313 Filed 08/11/22 Page 10 of 10




any immigration consequences that may follow from her guilty plea, even automatic

removal or deportation from the United. States, the defend.ant still wishes to plead

guilty as set forth in this agreement.

        15.   Complete Agreement. This, along with any agreement signed by the

parties before entry of the plea, is the entire agreement and understanding between

the United States and the defendant


                                                ANDREW M. LUGER
                                                United States Attornev


Date:
         ol   ,,1*
                                         BY:         ELA M. MUNOZ
                                                JORDAN L. SING
                                                Assistant United States Attorneys



Date:   8 \ tr\2"r,.                              !,rbo/^ hr--$\,
                                                UBAH HASSAN HAGI
                                                Defendant



Date:   7l t, ["---                                      T.D




                                           10
